

People v Gomez (2023 NY Slip Op 02832)





People v Gomez


2023 NY Slip Op 02832


Decided on May 25, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 25, 2023

Before: Kapnick, J.P., Friedman, Gesmer, Mendez, Pitt-Burke, JJ. 


Ind No. 1916/18 Appeal No. 313 Case No. 2020-02156 

[*1]The People of the State of New York, Respondent,
vAngel Gomez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Danielle A. Bernstein of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah J. Sexton of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Marsha D. Michael, J. at plea; Guy H. Mitchell, J. at sentencing), rendered February 25, 2020, convicting defendant of assault in the first degree, and sentencing him to a term of 3½ years, with 4 years' postrelease supervision, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545, 559-560 [2019], cert denied 589 US -, 140 S Ct 2634 [2020]; People v Lopez, 6 NY3d 248, 256 [2006]), which forecloses review of his claim that his sentence was excessive, and also "precludes review of his argument that the mandatory surcharge and fees imposed at sentencing should be vacated pursuant to CPL 420.35(2-a)" (People v Santiago, 208 AD3d 1112, 1113 [1st Dept 2022], lv denied 39 NY3d 1080 [2023]; see also People v Jones, 208 AD3d 1135 [1st Dept 2022], lv denied 39 NY3d 986 [2022]).
In any event, we find no basis to reduce the term of postrelease supervision, or to vacate the surcharge and fees in the interest of justice.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 25, 2023








